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                       IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF PENNSYLVANIA

MELISSA DEVIN MAGNESS,                         :                 CIVIL ACTION
individually and on behalf of all others       :
similarly situated                             :
                                               :
       v.                                      :
                                               :
BANK OF AMERICA, N.A., et al.                  :                 NO. 15-cv-2402


                                           ORDER


       AND NOW, this 6th day of February 2017, it having been reported that the issues
between the parties in this matter have been settled, and pursuant to the provisions of Rule
41.1(b) of the Local Rules of Civil Procedure, it is hereby ORDERED that this matter is
DISMISSED with prejudice. It is further ORDERED that all pending motions are DENIED as
moot. The Clerk of Court is directed to statistically close this matter.



                                      KATE BARKMAN, Clerk of Court




                                           By: /s/ Mia Harvey
                                              Mia Harvey
                                              Civil Deputy to Judge Legrome D. Davis
